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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :      MAGISTRATE NO.
                                             :
              v.                             :
                                             :
GEORGE D. WHITLEY, JR.,                      :      VIOLATION:
                                             :      18 U.S.C. § 1361
                      Defendant.             :      (Destruction of Government Property)

                                    INFORMATION

       The United States Attorney charges that:

                                           COUNT ONE

       On or about May 28, 2020, within the District of Columbia, GEORGE D. WHITLEY,

JR., willfully and by means of hitting it with a brick, did attempt to injure and commit a

depredation against property of the United States Marshals Service, specifically a 2020 Chevrolet

Tahoe, and the resulting damage was less than $1,000.

       (Destruction of Government Property, in violation of Title 18, United States Code,
       Section 1361) (Misdemeanor)

                                             Respectfully submitted,
                                           MICHAEL R. SHERWIN
                                      Acting United States Attorney
                                           New York Bar No. 4444188


                                     By:            /s/
                                             JAMES B. NELSON
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